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                                                                                        -· EF..K'S OfrtCE U.S. DIST. COURT
                                                                                        .,.,c.       f...T ROANOKE, VA.
                                                                                                          FILED

                                                                                                     APR -4 2019
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA                                        JULIA C. DUDLEY. CLERK
                                                                                                 BY: Q..~;.Q_j
                               ROANOKE DIVISION                                                       DSP'JTI '1fRK

 SHARON ROBINSON,                                  )
                                                   )       Case No. 7:18-cv-335
         Plaintiff,                                )
                                                   )
 v.                                                )
                                                   )
 WAL-MART STORES EAST, LP ,1                       )       By:   Michael F. Urbanski
                                                   )        ChiefUnited States District Judge
         Defendant.                                )

                       ORDER GRANTING SUMMARY JUDGMENT

         For the reasons stated on the record, the court GRANTS defendant Wal-Mart Stores

 East, LP's (Wal-Mart) motion for, summary judgment, ECF No. 15, and dismisses Plaintiff

 Sharon Robinson's claims in their entirety. The court fmds that no genuine issue of material

 fact exists on the issue of whether Wal-Mart had actual or constructive knowledge of the

 puddle of water on the floor causing plaintiffs fall. Defendant conceded there is no evidence

 of actual notice of the puddle and provided no evidence that Wal-Mart had constructive

 notice of the puddle. Plaintiff asked the court to infer constructive notice from the existence

 of the puddle, which is inconsistent with Virginia law.

         Although the court believes that the issue of contributory negligence is best resolved

 by a jury in this case, the court need not reach that issue as plaintiff failed to make out a

 prima facie case.




 1 At the hearing on the motion for summary judgment, the parties stipulated that the proper defendant in this
 case is Wal-Mart Stores East, LP. The court dismissed Wal-Mart Associates, Inc., as defendant and
 substituted Wal-Mart Stores, East, LP.
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       For these reasons, Wal-Mart's motion is GRANTED, all claims are DISMISSED,

 and this case is STRICKEN from the active docket.

       It is so ORDERED.

                                        Entered:     O   Lf _ CJ f.{ _ 2- CJ / f
                                     (,/ ,~:;:                   ~~

                                         Micha F. rbanski
                                         C · United States District Judge
